Case 1:15-cv-01003-TCW Document9 Filed 12/18/15 Page 1 of 2

In the Gnited States Court of Federal Clauns

No. 15-1003

(Filed: December 18, 2015) 0 P| G N AL

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SYLVIA SOLIS, :
' FILED
Plaintiff, *
. DEC 18 2015
Vv. * U.S. COURT OF
. FEDERAL CLAIMS
THE UNITED STATES, et al., *
*
Defendants. *
*
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DISMISSAL ORDER

On September 10, 2015, pro se Plaintiff Sylvia Solis filed copies of three letters and
a military retirement application form with this Court. Specifically, Ms. Solis’s filing
included a letter from the Air Force Board for Correction of Military Records dated June
10, 2015, a letter from Ms. Solis to the Veterans Affairs Inspector General dated November
11, 2010, a retirement application form (DD Form 2656) for Master Sergeant (MSGT)
Saulo Solis-Molina dated May 4, 1995, and a letter from Dr. E.J. Walsh describing MSGT
Solis-Molina’s presence during Ms. Solis’s treatment for breast cancer. The Clerk of Court
docketed Ms. Solis’s filing as a complaint against the United States and the case was
assigned to Judge Thomas C. Wheeler.

On November 5, 2015, the Government filed a motion for enlargement of time to
respond to Ms. Solis’s filing, contending that it had no complaint to which it could respond.
On November 10, 2015, the Court issued an order directing Ms. Solis to comply with Rule
3 of the Court of Federal Claims (““RCFC”) by filing a proper complaint and paying the
applicable filing fees, or, alternatively, filing an application to proceed in forma pauperis.
On December 1, 2015, the Court granted Ms. Solis leave to proceed in forma pauperis and
directed Ms. Solis to file a complaint no later than December 18, 2015. On December 14,
2015, Ms. Solis filed the same documents included in her original filing, along with a copy
of MSGT Solis-Molina’s discharge order from the U.S. Air Force, dated May 13, 1996.
Case 1:15-cv-01003-TCW Document9 Filed 12/18/15 Page 2 of 2

Rule 3 of the Court unambiguously requires that a plaintiff commence a civil action
by filing a complaint with this Court. RCFC 3. However, when a plaintiff is proceeding
pro se, the Court should exercise a degree leniency with respect to mere formalities and
liberally construe the plaintiff's pleadings. Nasharr v. United States, 105 Fed. Cl. 114, 117
(2012) (“Documents filed pro se are ‘to be liberally construed ... and a pro se complaint,
however inartfully pleaded, must be held to less stringent standards than formal pleadings
drafted by lawyers.’”) (quoting Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam)).
Although the Court takes seriously its duty to determine whether a pro se plaintiff “has a
cause of action somewhere displayed,” Stroughter v, United States, 89 Fed. Cl. 755, 760
(Fed. Cl. 2009) (internal citation omitted), it recognizes that the Government must have
some type of pleading or asserted claim to which to respond. See id. (“Although pro se
plaintiffs are given some leniency in presenting their case, their pro se status does not
immunize them from pleading facts upon which a valid claim can rest[.]”) (internal citation
omitted).

Although Ms. Solis is a pro se plaintiff, she must nevertheless observe the basic
pleading requirements of this Court by asserting a claim to which the Government can
respond. To date, Ms. Solis has asserted no such claim. Therefore, Ms. Solis has not
satisfied the procedural requirements for filing a complaint with this Court as set forth in
Rule 3. Accordingly, the Court DISMISSES Plaintiff's complaint for failure to properly
file a complaint with the Court. The Clerk is directed to dismiss Plaintiff's complaint
without prejudice.

IT IS SO ORDERED.

Bun LddL.

THOMAS C. WHEELER
Judge

 
